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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

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                                        APPLE INC., et al.,
                                   8                                                        Case No. 5:20-cv-06128-EJD
                                                       Plaintiffs,
                                   9                                                        ORDER ON DEFENDANT'S MOTION
                                                v.                                          FOR ADMINISTRATIVE RELIEF
                                  10                                                        REQUESTING A STAY OF BRIEFING
                                        ANDREI IANCU,                                       ON PLAINTIFFS' MOTION FOR
                                  11                                                        SUMMARY JUDGMENT
                                                       Defendant.
                                  12                                                        Re: Dkt. No. 66
Northern District of California
 United States District Court




                                  13          Defendant Andrei Iancu (“Defendant”), in his official capacity as Under Secretary of

                                  14   Commerce for Intellectual Property and Director of the United States Patent and Trademark Office

                                  15   (“USPTO”), has filed this motion for administrative relief pursuant to Civil Local Rule 7-11.

                                  16   Defendant is requesting that the Court stay briefing of Plaintiffs’ Motion for Summary Judgment,

                                  17   Dkt. No. 65, pending resolution of Defendant’s Motion to Dismiss, Dkt. No. 64.

                                  18          Having considered Defendant’s administrative motion and Plaintiff’s opposition, Dkt. No.

                                  19   69, the Court finds that the jurisdictional and substantive issues presented respectively in

                                  20   Defendant’s Motion to Dismiss and Plaintiffs’ Motion for Summary Judgment are intertwined.

                                  21   Because a Court may address jurisdictional and substantive issues concurrently if they are

                                  22   intertwined, the Court DENIES Defendants request to stay briefing on Plaintiffs’ Motion for

                                  23   Summary Judgment. See Flores v. Barr, 977 F.3d 742, 746 (9th Cir. 2020) (citing Augustine v.

                                  24   United States, 704 F. 2d 1074, 1077 (9th Cir. 1983)).

                                  25          Instead, the Court will adjust the briefing schedule related to both Defendant’s Motion to

                                  26   Dismiss and Plaintiffs’ Motion for Summary Judgment. Accordingly, IT IS HEREBY

                                  27
                                       Case No.: 5:20-cv-06128-EJD
                                  28   ORDER ON DEFENDANT’S MOTION FOR ADMINISTRATIVE RELIEF REQUESTING A
                                       STAY OF BRIEFING ON PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                   1   ORDERED THAT:

                                   2      1. Plaintiffs’ shall file an opposition to Defendant’s Motion to Dismiss no later than January

                                   3         21, 2021. Defendant shall file an opposition to Plaintiffs’ Motion for Summary Judgment

                                   4         no later than January 21, 2021.

                                   5      2. Defendant shall file any reply in support of the Motion to Dismiss no later than February 4,

                                   6         2021. Plaintiffs shall file any reply in support of the Motion for Summary Judgment no

                                   7         later than February 4, 2021.

                                   8      3. A hearing on both the Motion to Dismiss and Motion for Summary Judgment remains

                                   9         scheduled for March 11, 2021.

                                  10         IT IS SO ORDERED.

                                  11   Dated: December 2, 2020

                                  12                                                  ______________________________________
Northern District of California
 United States District Court




                                                                                      EDWARD J. DAVILA
                                  13                                                  United States District Judge
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                                       Case No.: 5:20-cv-06128-EJD
                                  28   ORDER ON DEFENDANT’S MOTION FOR ADMINISTRATIVE RELIEF REQUESTING A
                                       STAY OF BRIEFING ON PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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